      Case: 1:20-cv-00660-DAR Doc #: 77 Filed: 06/25/24 1 of 1. PageID #: 884




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


Ru-El Sailor,                                     )   Case No. 1:20-CV-00660
                                                  )
                             Plaintiff,           )   Judge Christopher A. Boyko
                                                  )
                vs.                               )   NOTICE TO TAKE VIDEOTAPED
                                                  )   DEPOSITION OF KYLE SWENSON
City of Cleveland, et al.,                        )
                                                  )
                             Defendants.          )


        Please take notice that counsel for Defendant Police Officers shall take the videotaped

discovery deposition of Kyle Swenson on Wednesday, July 3, 2024, beginning at 10:00 a.m.

at Silver Spring Metro Plaza II, 8403 Colesville Road, Suite 1100, Silver Spring, MD 20910.

        Said deposition will be taken upon oral examination and will be recorded by video and

stenographic means before a Notary Public or other person authorized to administer an oath, and

shall continue from day to day until completed.


                                            Respectfully submitted,

                                            /s/ Kenneth A. Calderone
                                            Kenneth A. Calderone (0046860)
                                            John D. Latchney (0046539)
                                            Hanna, Campbell & Powell, LLP
                                            3737 Embassy Parkway, Suite 100
                                            Akron, OH 44333
                                            Telephone: (330) 670-7324 / (330) 670-7602
                                            Facsimile: (330) 670-7440 / (330) 670-7458
                                            Email: kcalderone@hcplaw.net
                                                    jlatchney@hcplaw.net
                                            Attorneys for Defendant Police Officers

HCP #1346531
